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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA
                      FORT LAUDERDALE DIVISION

  APRIL M. BOWERS and
  MICHAEL K. BOWERS,

        Plaintiffs,

  v.                                            Case No. __________________

  FAIRWAY VIEWS HOMEOWNERS
  ASSOCIATION, INC.; FIRST
  SERVICE RESIDENTIAL, INC.; and,
  WILLIAM L.WEBSTER, Individually,

       Defendants.
  __________________________________/

                                    COMPLAINT

        Plaintiffs, April M. Bowers and Michael K. Bowers, sue Defendants,

  FAIRWAY VIEWS HOMEOWNERS ASSOCIATION, INC.; FIRST

  SERVICE RESIDENTIAL, INC.; and, WILLAIM L. WEBSTER, individually,

  seeking damages against Defendants for their discriminatory housing practices in

  violation of the Fair Housing Act and show:

                          JURISDICTION AND VENUE

        1.    This Court has original jurisdiction over Plaintiff’s federal civil rights

  claims pursuant to 28 U.S.C. §§ 1331 and 1343.

        2.    Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391 as the
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  Defendants are located in this District and Division and the cause of action arose

  therein.

        3.     All conditions precedent to this lawsuit, if any, have been satisfied or

  waived.

                                            PARTIES

        4.     At all times material, Plaintiffs April M. Bowers and Michael K.

  Bowers resided in Broward County, Florida and are members of a class of persons

  protected by the Fair Housing Act. Specifically, they are the parents and/or legal

  guardians of, and are associated with, a minor child with multiple serious

  disabilities, and sought approval from Defendants of their lease to reside in the

  Subject Dwelling, infra, based largely upon the physical needs of their disabled

  minor daughter who lives with them.

        5.     Defendant Fairway Views Homeowners Association, Inc. (Fairway) is

  a Florida Corporation operating in Broward County, and subject to the jurisdiction

  of this Court. At all times material, Fairway was the entity responsible for the

  operation and management of the Fairway Views subdivision, including the

  creation and execution of the subdivision’s Rules and Regulations and/or Bylaws

  and exercised the power to accept or reject applicants who sought to rent a place to

  live within the subdivision.


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           6.      Defendant First Service Residential, Inc. (First Service) is a Florida

  Corporation operating in Broward County, and subject to the jurisdiction of this

  Court.        At all times material, First Service was upon information and belief

  contracted by Fairway to manage the homeowners’ association’s business affairs,

  including, but not limited to, participating in the process of reviewing lease

  applicants and deciding whether to accept or reject them.

           7.      At all times material, Defendant, William L. Webster (Webster), was

  a licensed Community Association Manager (LCAM), licensed as such by the

  State of Florida, and an employee of First Service. Webster acted within the scope

  and course of his employment with First Service, as well as acted as the agent for

  Fairway, when communicating with prospective lessees such as the Plaintiffs and

  personally participating in the process of reviewing lease applicants and deciding

  whether to accept or reject them.

                                  SUBJECT DWELLING

           8.      The rental property at issue is 7568 Pinewalk Drive, Margate, Florida

  in Broward County. It is a dwelling under the Fair Housing Act, 42 U.S.C.

  §3602(b).

           9.      Defendant Fairway Views Homeowners Association, Inc. (Fairway)

  governs the subdivision where the subject property is located.


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         10.   Defendant First Service Residential, Inc. served as the property

  manager for Fairway during the relevant time period and employed Webster as its

  licensed Community Association Manager for Fairway.

                                 FACTUAL ALLEGATIONS

         11.   Plaintiffs are the parents of a minor disabled child who suffers from

  cerebral palsy, cortical blindness, seizure disorder, quadriplegia, scoliosis, and is

  limited in her speech.

         12.   At the time the Plaintiffs sought to move to the subject premises,

  Plaintiffs’ minor child was 15 years old; however, due to her numerous disabilities,

  she is unable to do any basic care functions on her own but must be assisted with

  all care.

         13.   Plaintiffs’ minor child is non-ambulatory, wheelchair bound and

  totally dependent upon others for her care and movement.

         14.   Notwithstanding her disabilities, at all times material,     Plaintiffs’

  minor daughter attended school five days a week; at all times material to this

  action, she attended a special needs program at a public school for which the

  subject property is zoned.

         15.   Plaintiffs lived with their minor, disabled child in a home they rented

  at 6338 NW 78 Place, Parkland, Florida from June 30, 2014 until June 2016.


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         16.      Plaintiffs were good tenants and enjoyed living at NW 78 Place;

  however, they were forced to find alternative living arrangements when the

  homeowner sold the property in April 2016.

         17.      On or around April 21, 2016, Plaintiffs and their daughter, who is

  confined to a wheelchair, inspected the subject rental property at 7568 Pinewalk

  Drive, Margate, Florida to determine whether it would be appropriate to

  accommodate their family, and specifically, their daughter’s needs based on her

  disabilities.

         18.      They brought their daughter to ensure that her wheelchair would fit in

  the rental home and would be able to traverse through the halls and doorways.

         19.      The subject property is a one level house with 3 bedrooms, 2 baths

  and a full garage. The property was completely tiled, with no carpet. It is located in

  the Fairway Views subdivision, which includes a heated community pool.

         20.      Plaintiffs were excited that the subject property fit their needs: the

  hallways, bathroom and doors were wide enough to accommodate the wheelchair

  and provided sufficient room for safe transfers of their child from her wheelchair to

  the bed or bath; the tile permitted easier movement of the wheelchair, versus carpet

  which can make movement more difficult; the bedroom for their daughter was

  close to the master so they could respond to any medical issues in a timely fashion;


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  the heated community pool would provide therapeutic benefit for their daughter

  year round; the school bus would be able to pick up their daughter directly in front

  of the house; and the garage provided sufficient storage for Michael Bowers’ work

  tools for his self-employed handyman business.

        21.    Plaintiffs negotiated and signed a lease with the homeowner on April

  25, 2016, with a scheduled move in date of June 15, 2016; however, Defendants

  had final approval of all rental leases in the subdivision. The move-in date was

  subsequently moved up to June 10, 2016.

        22.     On or about May 25, 2016, Plaintiffs completed paperwork, an

  Application, required by Fairway and First Residential for approval to live in the

  subject property which is subject to the covenants, rules and/or bylaws of the

  Fairway Views Homeowners Association.

        23.    On the Application, Plaintiffs identified their two vehicles: a 2008

  Nissan Frontier and 2015 GMC SUV.

        24.    On May 31, 2016, Plaintiffs scheduled a “meet and greet” with the

  HOA’s property manager, William Webster, of First Service Residential, Inc.

  (FSR) for June 8, 2016.

        25.    On June 1, 2016, Webster informed Plaintiffs: “Vehicle information is

  vague. No commercial vehicles are permitted and over 2000 lbs. One of two


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  vehicles must fit into the garage. Please submit pictures for Board verification.”

        26.    That same day, April Bowers emailed Webster pictures of their

  vehicles and informed him that neither was a commercial vehicle.

        27.    On June 2, 2016, Webster informed Plaintiffs that their Application

  for permission to rent the subject property had been denied because Fairways’ by-

  laws do not permit cars weighing over 2,000 pounds and all by-laws are “strictly

  enforced.”

        28.    The stated reason for the denial was false, as almost all modern cars

  weigh over 2,000 pounds. Webster knew the reason for the denial was false, as he:

  was aware that Fairways’ bylaws were not strictly enforced, especially the 2000

  pound weight restriction; was aware that Plaintiff’s vehicles were not commercial

  vehicles; and, was aware that homeowners within the subdivision, including the

  prior occupants of the Subject Dwelling, routinely failed to park even one of their

  two vehicles in their garage.

        29.    Plaintiffs subsequently toured the subdivision that same day and took

  pictures of multiple trucks and SUVs of various homeowners that weigh more than

  2,000 pounds and that were parked in driveways and not housed inside the home’s

  garages.

        30.    The prior tenants of the subject property used the garage solely for


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  storage and did not park vehicles inside the garage, so this alleged rule was not

  enforced against the prior tenants either.

        31.    That same day, April Bowers called First Service to complain about

  the false reason given by Webster, acting on behalf of First Service and Fairway,

  for refusing to allow them to live in the home they had just leased.

        32.    Subsequently, April Bowers wrote Webster to express her frustration

  that they were denied a lease because of their daughter’s disability. Neither

  Webster, nor anyone else from First Service, or Fairway, ever responded.

        33.    Plaintiffs were then faced with an emergent situation – they needed to

  find alternative housing immediately.

        34.    They searched numerous properties until they were able to secure a

  small, 1,100 square foot apartment 1st floor apartment in their daughter’s school

  district. Plaintiffs were compelled to sign a one-year lease and incurred application

  fees as well as payments for first-month and last-month rent and a security deposit.

        35.    The apartment did not provide complete access for their disabled

  daughter and did not have room for her wheelchair. Instead, Plaintiffs had to carry

  their daughter from room to room.

        36.    Plaintiffs’ daughter had to sleep in the dining room of the small

  apartment, out of eyesight of their bedroom.


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        37.    The doors to the bathroom in the apartment do not accommodate their

  daughter’s wheelchair and they were forced into a safety risk when transferring her

  in and out of the bathtub.

        38.    The apartment complex does have a pool; however, it is not heated

  and is overly congested which did not provide space for their daughter to conduct

  physical therapy in the pool.

        39.    The apartment also did not accommodate all of their belongings, and

  Plaintiffs had to sell belongings and store the remainder in a paid storage unit –

  including Michael Bower’s work tools. He had to travel to the storage unit daily to

  acquire the necessary tools to complete his job, which added unnecessary time to

  his workday as well as gas for the extra commute. Additionally, Michael Bowers

  lost out on jobs because he did not have ready access to his tools.

        40.    In addition to the above, and other material issues that affected their

  and their disabled daughters’ well-being, the small apartment was further away

  from April Bowers’ place of employment than the subject property (or their prior

  rental) thus increasing her daily commute.

               COUNT I: ASSOCIATIONAL DISCRIMINATION
         VIOLATION OF THE FAIR HOUSING ACT BY FAIRWAY VIEWS
                   HOMEOWNER’S ASSOCIATION, INC.
                          42 U.S.C. § 3601, et seq.

        41.    Plaintiffs re-allege the allegations contained in paragraphs 1-40.

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        42.    Defendant had actual knowledge that Plaintiffs’ have a minor child

  with disabilities who would reside with them in the Subject Dwelling.

        43.    Defendants refused to approve Plaintiff’s lease for the subject

  property because of Plaintiffs’ minor child’s disability.

        44.    Plaintiffs were willing and qualified to rent the subject property.

        45.    Defendant’s actions in denying Plaintiffs’ lease of the subject property

  constitutes unlawful discrimination against Plaintiffs due to their association with

  their disabled minor daughter, who was going to reside in the subject property.

        46.    Defendants’ actions in denying Plaintiffs’ lease at the subject property

  constitute unlawful interference with Plaintiffs’ rights under the Fair Housing Act.

        47.    As a direct and proximate result of Defendants’ violation of the Fair

  Housing Act, Plaintiffs have been damaged and are entitled to the relief set forth in

  their Prayer for Relief.

        48.    Defendants      acted    intentionally,     willfully,   maliciously   and

  oppressively, thereby entitling Plaintiffs to an award of punitive damages to be

  determined by the enlightened conscience of the jury.

               COUNT II: ASSOCIATIONAL DISCRIMINATION
          VIOLATION OF THE FAIR HOUSING ACT BY FIRST SERVICE
                            RESIDENTIAL, INC.
                           42 U.S.C. § 3601, et seq.

        49.    Plaintiffs re-allege the allegations contained in paragraphs 1-40.

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        50.    Defendant, through its employees and/or agents, including specifically

  its designated Licensed Community Association/Property Manager, William

  Webster, had actual knowledge that Plaintiffs’ have a minor child with disabilities

  who would reside with them in the Subject Dwelling.

        51.    Defendant, through its employees and/or agents, participated in the

  decision to reject Plaintiffs’ application, approved such rejection, and/or facilitated

  the refusal to approve Plaintiff’s lease for the subject property because of

  Plaintiffs’ minor child’s disability. Moreover, First Service, through Webster,

  attempted to justify the discriminatory rejection by proffering the pretextual reason

  that the Plaintiffs’ vehicles were over the weight limit allowed by Fairway’s

  bylaws.

        52.    Plaintiffs were willing and qualified to rent the subject property.

        53.    Defendant’s actions set forth in paragraph 51 above, constitute

  unlawful discrimination against Plaintiffs due to their association with their

  disabled minor daughter, who was going to reside in the subject property.

        54.    Defendant’s actions set forth in paragraph 51 above, constitute

  unlawful interference with Plaintiffs’ rights under the Fair Housing Act.

        55.    As a direct and proximate result of Defendant’s violation of the Fair

  Housing Act, Plaintiffs have been damaged and are entitled to the relief set forth in


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  their Prayer for Relief.

        56.    Defendant acted intentionally, willfully, maliciously and oppressively,

  thereby entitling Plaintiffs to an award of punitive damages to be determined by

  the enlightened conscience of the jury.

               COUNT III: ASSOCIATIONAL DISCRIMINATION
           VIOLATION OF THE FAIR HOUSING ACT BY WILLIAM L.
         WEBSTER, LICENSED COMMUNITY ASSOCIATION MANAGER,
                              INDIVIDUALLY
                           42 U.S.C. § 3601, et seq.

        57.    Plaintiffs re-allege the allegations contained in paragraphs 1 - 40.

        58.    Defendant, William L. Webster, a Community Association Manager

  (CAM) licensed by the State of Florida, Defendant, had actual knowledge that

  Plaintiffs’ have a minor child with disabilities who would reside with them in the

  Subject Dwelling.

        59.    Defendant, as the agent and licensed CAM for Fairway Views,

  participated in the decision to reject Plaintiffs’ application, approved such

  rejection, and/or facilitated the refusal to approve Plaintiff’s lease for the subject

  property because of Plaintiffs’ minor child’s disability.         Moreover Webster

  attempted to justify the discriminatory rejection by proffering the false and

  pretextual reason that the Plaintiffs’ vehicles were over the weight limit allowed by

  the Fairway Views Homeowners Association’s Bylaws.


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        60.    Plaintiffs were willing and qualified to rent the subject property.

        61.    Defendant’s actions in denying Plaintiffs’ lease of the subject property

  constitute unlawful discrimination against Plaintiffs due to their association with

  their disabled minor daughter, who was going to reside in the subject property.

        62.    Defendant’s actions in denying Plaintiffs’ lease at the subject property

  constitute unlawful interference with Plaintiffs’ rights under the Fair Housing Act.

        63.    As a direct and proximate result of Defendant’s violation of the Fair

  Housing Act, Plaintiffs have been damaged and are entitled to the relief set forth in

  their Prayer for Relief.

        64.    Defendants      acted    intentionally,     willfully,   maliciously   and

  oppressively, thereby entitling Plaintiffs to an award of punitive damages to be

  determined by the enlightened conscience of the jury.

                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court:

     a) Assume jurisdiction over this action;

     b) Enter a declaration that the actions of Defendants in denying housing to the

        Plaintiff’s based on their association with their disabled minor daughter

        violates the Fair Housing Act and enter an injunction permanently enjoining

        the Defendants from any future violations of the Fair Housing Act;


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     c) Enter judgment against Defendants, jointly and severally, and for the

        Plaintiffs;

     d) Award Plaintiffs their actual damages, including compensatory damages for

        pain and suffering, mental and emotional distress, anxiety, embarrassment

        and humiliation, in an amount to be determined by the enlightened

        conscience of the jury;

     e) Award punitive damages against Defendants in an amount to be determined

        by the enlightened conscience of the jury to deter Defendants and others

        from similar misconduct in the future;

     f) Award reasonable attorneys’ fees, expenses and costs of litigation pursuant

        to 42 U.S.C. § 3613(c)(2);

     g) Award pre and post-judgment interest;

     h) Award such other relief as this Court deems just and proper.




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                                      JURY DEMAND

        Plaintiff demands a jury trial on all issues so triable.

               Respectfully submitted this 4th day of January, 2018



                                                        /s/
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